  Case: 6:19-cr-00026-REW-HAI           Doc #: 91 Filed: 11/04/19          Page: 1 of 2 - Page
                                           ID#: 217



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )             No. 6:19-CR-26-REW
 v.                                               )
                                                  )
 DAVID AMERAL,                                    )                     ORDER
                                                  )
        Defendant.                                )

                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE 88) of United States

Magistrate Judge Hanly A. Ingram, addressing Defendant David Ameral’s guilty plea as to Count

One of the Superseding Indictment (DE 25). DE 87 (Minutes). Defendant appeared before Judge

Ingram on October 29, 2019. Id. After consenting to plead before a United States Magistrate Judge

(DE 89) and engaging in the full colloquy required by Rule 11, he proceeded to plead guilty. DE

88. Judge Ingram found Defendant competent to plead and that Defendant did so in a knowing and

voluntary fashion; he further found that an adequate factual basis supported the plea as to each

essential element of the charged offense. Id. Accordingly, Judge Ingram recommended that the

Court accept Defendant’s plea and adjudge him guilty of the offense charged in Count One of the

Superseding Indictment. Id.

       Defendant had three days within which to object to Judge Ingram’s recommendation, and

he has not done so. Nor has the United States objected. While this Court reviews de novo those

portions of a Recommended Disposition to which a party objects, see 28 U.S.C. § 636(b)(1), it is

not required to “review . . . a magistrate[] [judge’s] factual or legal conclusions, under a de novo

or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.

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  Case: 6:19-cr-00026-REW-HAI                 Doc #: 91 Filed: 11/04/19      Page: 2 of 2 - Page
                                                 ID#: 218



466, 472 (1985). When the parties do not object to the Magistrate Judge’s recommended

disposition, they waive any right to review. See Fed. R. Crim. P. 59(b); United States v. White, 874

F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to lodge a specific objection to a particular

aspect of a magistrate judge’s report and recommendation, we consider that issue forfeited on

appeal.”); see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that “[t]he

law in this Circuit is clear” that a party who fails to object to a magistrate judge’s recommendation

forfeits his right to appeal its adoption).

        The Court thus ADOPTS the Recommended Disposition (DE 88), accepts the plea, and

ADJUDGES David Ameral guilty of the offense charged in Count One of the Superseding

Indictment. An Order scheduling sentencing follows. Defendant remains detained per prior Orders.

        This the 4th day of November, 2019.




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